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                       Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Criminal Action No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

         Plaintiff,
 v.

 1. JAYSON JEFFREY PENN,
 2. MIKELL REEVE FRIES,
 3. SCOTT JAMES BRADY,
 4. ROGER BORN AUSTIN,
 5. TIMOTHY R. MULRENIN,
 6. WILLIAM VINCENT KANTOLA,
 7. JIMMIE LEE LITTLE,
 8. WILLIAM WADE LOVETTE,
 9. GARY BRIAN ROBERTS,
 10. RICKIE PATTERSON BLAKE,

         Defendants.



                       GOVERNMENT’S SUPPLEMENTAL MOTION
                      REGARDING AUTHENTICATION OF EVIDENCE


         The government respectfully supplements two prior motions it filed on October

 18, 2021 regarding authentication of evidence: its (1) Motion for Pre-Trial Ruling

 Regarding Authentication of Evidence Pursuant to Federal Rules of Evidence 902(11)

 and 902(13) (ECF 622); and (2) Motion for Pre-Trial Ruling Regarding Authentication of

 Evidence Pursuant to Federal Rules of Evidence 902(11), 902(13), and 902(14) (ECF

 623).
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        Since filing these motions, the government has updated and revised its exhibit

 list, and will be filing it with the Court and providing it to Defendants. As part of this

 process, the government provided defense counsel with a table mapping each

 certification of authenticity to a corresponding exhibit on the government’s exhibit list.

 For ease of the Court, the government now supplements its prior motions with the same

 table, attached as Exhibit 1, should the Court prefer to rule on authenticity for the subset

 of the documents mentioned in each certification, rather than the complete set of

 certified documents as sought in ECF 622-623 and the attached proposed order.

        The government also attaches a supplemented list of certifications as Exhibit 2

 for the Court’s reference. This exhibit list includes one additional certification relating to

 emails and documents, marked as Exhibit 16-1, for the Court’s consideration as a

 supplementation to ECF 622, filed October 11. This certification from Perdue was not

 included in the government’s prior motion, ECF 622. The government has provided it to

 Defendants. See Exhibit 16-1.




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        The government has advised defendants that it may modify or supplement its list

 of exhibits and certifications throughout the course of trial.



        Respectfully submitted this 18th day of October, 2021.

                                                    By: _s/ Heather D. Call_________
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